Case 2:21-bk-14596-NB   Doc 13 Filed 06/14/21 Entered 06/14/21 16:05:51   Desc
                        Main Document     Page 1 of 15
Case 2:21-bk-14596-NB   Doc 13 Filed 06/14/21 Entered 06/14/21 16:05:51   Desc
                        Main Document     Page 2 of 15
Case 2:21-bk-14596-NB   Doc 13 Filed 06/14/21 Entered 06/14/21 16:05:51   Desc
                        Main Document     Page 3 of 15
Case 2:21-bk-14596-NB   Doc 13 Filed 06/14/21 Entered 06/14/21 16:05:51   Desc
                        Main Document     Page 4 of 15
Case 2:21-bk-14596-NB   Doc 13 Filed 06/14/21 Entered 06/14/21 16:05:51   Desc
                        Main Document     Page 5 of 15
Case 2:21-bk-14596-NB   Doc 13 Filed 06/14/21 Entered 06/14/21 16:05:51   Desc
                        Main Document     Page 6 of 15
Case 2:21-bk-14596-NB   Doc 13 Filed 06/14/21 Entered 06/14/21 16:05:51   Desc
                        Main Document     Page 7 of 15
Case 2:21-bk-14596-NB   Doc 13 Filed 06/14/21 Entered 06/14/21 16:05:51   Desc
                        Main Document     Page 8 of 15
Case 2:21-bk-14596-NB   Doc 13 Filed 06/14/21 Entered 06/14/21 16:05:51   Desc
                        Main Document     Page 9 of 15
Case 2:21-bk-14596-NB   Doc 13 Filed 06/14/21 Entered 06/14/21 16:05:51   Desc
                        Main Document    Page 10 of 15
Case 2:21-bk-14596-NB   Doc 13 Filed 06/14/21 Entered 06/14/21 16:05:51   Desc
                        Main Document    Page 11 of 15
Case 2:21-bk-14596-NB   Doc 13 Filed 06/14/21 Entered 06/14/21 16:05:51   Desc
                        Main Document    Page 12 of 15
Case 2:21-bk-14596-NB   Doc 13 Filed 06/14/21 Entered 06/14/21 16:05:51   Desc
                        Main Document    Page 13 of 15
Case 2:21-bk-14596-NB   Doc 13 Filed 06/14/21 Entered 06/14/21 16:05:51   Desc
                        Main Document    Page 14 of 15
Case 2:21-bk-14596-NB   Doc 13 Filed 06/14/21 Entered 06/14/21 16:05:51   Desc
                        Main Document    Page 15 of 15
